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                                                                           Tuesday, 23 April, 2019 04:41:13 PM
                                                                                 Clerk, U.S. District Court, ILCD

                             UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )
                 v.                           )       Case No. 17-cr-20037-JES-JEH
                                              )
BRENDT A. CHRISTENSEN,                        )
                                              )
                       Defendant.             )

                                    ORDER AND OPINION

       Now before the Court is Defendant’s Response (Doc. 305) to the United States’ Notice of

Penalty Phase Experts and Tests (Doc. 303). Defendant lays out the following objections to the

United States’ proposed examination:


1. The Government’s Expert Should be Precluded from Administering the WAIS-IV Because of

the Risk of Generating Artificially Inflated Scores Due to Practice Effects.


2. The Government’s Expert Should be Precluded from Administering the WCST Because of the

Risk of Generating Artificially Inflated Scores Due to Practice Effects.


3. The Government’s Expert Should be Precluded from Administering the Connors’ Adult ADHD

Rating Scale Because ADHD is Not a Differential Diagnosis of Schizophrenia Spectrum

Disorder.


4. The Government Should be Required to Specify Which Validity Measures its Expert Proposes

to Administer.


       Defendant’s first and second objections are based on the same principle: people who take

the Wechsler Adult Intelligence Scale – IV examination and the Wisconsin Card Sorting Test

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perform better on those tests when they take them more than once, especially within less than 12

months of the initial administration. Doc. 305, at 2–4. Defendant cites no authority for

precluding rebuttal experts from performing these tests after the defense experts have. The Court

finds that Defendant is free to cross-examine the experts on potentially inflated performance and

argue to the jury regarding those matters, but this is not a sufficient ground to prevent the rebuttal

experts from administering these tests. Defendant’s first and second requests are therefore

DENIED.

       The Court directs the United States to file a Reply on Defendant’s third and fourth

objections by Thursday, April 25, 2019 at noon. The Court further sets this matter for a hearing,

if necessary, at 1:30 p.m. on Friday, April 26, 2019 in order to fully address it before the United

States’ scheduled examination.

       Signed on this 23rd day of April, 2019.

                                                      /s James E. Shadid
                                                      James E. Shadid
                                                      United States District Judge




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